                          UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                 Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                            ORDER

       THIS MATTER IS BEFORE THE COURT upon Defendant’s Motion to Withdraw Plea

of Guilty (Doc. No. 864) and in consideration of Defendant’s Notice of Withdrawal of that motion

(Doc. No. 959). The Court conducted a hearing on this matter on April 10, 2015. For the reasons

stated at the hearing, the withdrawal of Defendant’s motion is allowed. Defendant’s pending pro

se motions to withdraw plea of guilty (Doc. Nos. 520 & 526) and for waiver to represent herself

(Doc. No. 527) are DENIED as MOOT.

       The Clerk of Court is directed to certify copies of this order to the U.S. Probation Office

and to the Defendant.

SO ORDERED.

 Signed: April 13, 2015




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